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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
- against - ORDER
IAN CARMICHAEL, 19 Cr, 743 (PGG)

Defendant.

 

 

PAUL G. GARDEPHE, U.S.D.J.:

It is hereby ORDERED that the conference previously scheduled for March 25,
2020 is adjourned to April 24, 2020 at 10 a.m. in Courtroom 705 of the Thurgood Marshall
United States Courthouse, 40 Foley Square, New York, New York. Pursuant to the Standing
Order In Re: Coronavirus/COVID-19 Pandemic, No. 20 Misc. 154 (S.D.N.Y. Mar. 13, 2020),
time is excluded through April 24, 2020.
Dated: New nob New York

March [(e, 2020
SO ORDERED.

Pada hug

Paul G. Gardephe r
United States District Judge

 
